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 AO 245D (CASO Rev. 1/19) Judgment in a Criminal Case for Revocations


                                         UNITED STATES DISTRICT COURT
                                              SOUTHERN DISTRICT OF CALIFORNIA
                 UNITED STATES OF AMERICA                             JUDGMENT IN A CRIMINAL CASE
                                                                      (For Revocation of Probation or Supervised Release)
                                    V.                                (For Offenses Committed On or After November I, 1987)
             KHAMCHALEUN PHONESAVANH (1)
                                                                         Case Number:        3:l l-CR-00266-BTM

                                                                      Eric Studebaker Fish
                                                                      Defendant's Attorney
 REGISTRATION NO.                   24892-298
 •-
 THE DEFENDANT:
 1:8:1   admitted guilt to violation ofallegation(s) No.      I
 D       was found guilty in violation ofallegation(s) No.
                                                             - - - - - - - - - - - - after denial of guilty.
Accordingly, the court has adjudicated that the defendaot is guilty of the following allegation(s):

Allegation Number                    Nature of Violation

                  1                  Unlawful use of a controlled substance




     Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
The sentence is imposed pursuaot to the Sentencing Reform Act of 1984.
        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant's economic circumstances.

                                                                     Mav27 2020
                                                                    Date oflmposition of Sentence




                 May 28 2020

                      s/ SuzanneA
.I
      ~
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       AO 245D (CASD Rev. 01/19) Judgment in a Criminal Case for Revocations

       DEFENDANT:                  KHAMCHALEUN PHONESAVANH (I)                                              Judgment - Page 2 of2
       CASE NUMBER:                3:ll-CR-00266-BTM

                                                          IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:



                                                                                                    ~•
          SIX (6) MONTHS.


                                                                       ~n.BA
                                                                            an
                                                                             ~Ti
                                                                       UNIT~TES DISTRICT JUDGE~
                                                                                                  ~



          •     Sentence imposed pursuant to Title 8 USC Section 1326(b).
          •     The court makes the following recommendations to the Bureau of Prisons:




          •     The defendant is remanded to the custody of the United States Marshal.

          •     The defendant shall surrender to the United States Marshal for this district:

                • - --------- AM.                                      on
                                                                            ---------------,------
                • as notified by the United States Marshal.
                The. defendant shall surrender for service of_s_entence_aUheJnstitution_designated-by-the-Bureau-of----
--------j •     Prisons:
                •     on or before
                •     as notified by the United States Marshal.
                •     as notified by the Probation or Pretrial Services Office.

                                                                RETURN
          I have executed this judgment as follows:

                Defendant delivered on                                  , · . ~·_to   ~           .-
                                                                                      ~----~--'----'-----~-
                                                                                                                        .   \   ~




          at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                          UNITED STATES MARSHAL



                                             By                     DEPUTY UNITED STATES MARSHAL


                                                                                                          3:l 1-CR-00266-BTM
